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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                             CR 15–16–M–DLC–3

                      Plaintiff,
                                                              ORDER
        vs.

 BRYCE DOUGLAS FISCHER,

                      Defendant.


      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on December 15, 2015. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Bryce Douglas Fischer’s

guilty plea after Fischer appeared before him pursuant to Federal Rule of Criminal

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Procedure 11, and entered a plea of guilty to one count of possession with intent to

distribute methamphetamine in violation of 21 U.S.C. § 846, as set forth in the

Superseding Information. In exchange for Defendant’s plea, the United States has

agreed to dismiss the Superseding Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

102), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Bryce Douglas Fischer’s motion to

change plea (Doc. 66) is GRANTED and Bryce Douglas Fischer is adjudged

guilty as charged in the Superseding Information.

      DATED this 5th day of January, 2016.




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